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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                Case No. 3:19-md-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                     Judge M. Casey Rodgers
This Document Relates to All Cases   Magistrate Judge Gary R. Jones




       PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
       THEIR MOTION FOR SUMMARY JUDGMENT ON THE
            GOVERNMENT CONTRACTOR DEFENSE
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                                   ARGUMENT

I.     The Defense Does Not Preempt Plaintiffs’ Failure-to-Warn Claims
       Because Defendants Cannot Satisfy Dorse.

       Plaintiffs are entitled to summary judgment on the government contractor

defense as to their failure-to-warn claims for a simple reason: Defendants do not

address binding precedent and undisputed evidence.

       This “Court is bound by the Dorse case.” Killam v. Air & Liquid, 2016 WL

7438434, *5 (M.D. Fla. 2016). Dorse applied “Boyle’s two-pronged analysis,” not

its “three-part test,” to failure-to-warn claims. Dorse v. Eagle-Picher, 898 F.2d 1487,

1489 (11th Cir. 1990). Accordingly, the defense preempts warning claims only if the

government prohibited a warning. Id. at 1489-90.

       Defendants rely on one sentence from one out-of-circuit case in a futile effort

to evade this binding precedent. Def-Opp-32-33. Every other case assessing Dorse—

including recent precedent from 3M’s backyard—has acknowledged its strict

prohibition test. E.g., Graves v. 3M, 2020 WL 1333135, *4 & n.5 (D. Minn. 2020).

Defendants thus invite this Court to commit reversible error. Glassco v. Miller, 966

F.2d 641, 644 (11th Cir. 1992) (reversing order that was “inconsistent with Dorse”).

       Dugas, which Defendants ignore, is on point. The court held the defense did

not preempt plaintiff’s warning claims because there was “no evidence [the

contractor] was prevented from including a warning.” Dugas v. 3M, 2016 WL




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3965953, *5 (M.D. Fla. 2016). The court thus granted plaintiff summary judgment

on the defense. Id. at *6.

      The same is required here. Defendants’ only evidence is hearsay that Ohlin

supposedly told one employee not to include instructions inside bulk-shipment

boxes. Def-Opp-33. Regardless, Defendants conceded they could have included

warnings on the outside of those boxes. PX81(30(b)(6)-410:9-412:23). The MPID

required it. PX51(30(b)(6)-278:10-283:4); PX37(3M_MDL000000056). The

military never prohibited Defendants from warning:

      Q: [A]re you saying that the Army actually denied you the right to give
      an instruction or a warning to the military and to the soldiers about the
      product?

      A: I don’t clearly recall that.

      Q: You don’t recall anything like that as you sit here today?

      A: No. . . . I don’t ever recall them telling us that we couldn’t include
      something.

PX51(30(b)(6)-287:3-288:10) (emphasis added); PX51(30(b)(6)-281:22-284:13)

(finding no documents “somehow restricting or preventing [the] company from

providing warnings or cautions or clear, concise instructions”); see Dorse, 898 F.2d

at 1490 n.2 (witness agreeing he found no documents prohibiting a warning).1



1
 Failing to address this dispositive evidence, Defendants claim Plaintiffs rely on two
witnesses who did not recall a prohibition. Def-Br-33 n.16. Defendants cite a
nonexistent page of Plaintiffs’ brief and inexplicably fail to identify either witness.

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        Defendants also fail to dispute they were free to include “complete

instructions” and warnings in “pillow packs,” PX51(30(b)(6)-277:1-278:9);

PX108(3M_MDL000340215); PX107(3M_MDL000013976), and during military

trainings, Pl-Opp-39. Defendants’ only evidence proves as much. DX10(Santoro-

329:19-24). As in Dorse and Dugas, Plaintiffs are entitled to summary judgment.

II.     The Defense Does Not Preempt Plaintiffs’ Design-Defect Claims Because
        Defendants Cannot Satisfy Any of Boyle’s Conditions.

        Plaintiffs’ motion addresses two “product feature[s] upon which [their]

claim[s] [are] based”—stem length and flange positioning. Pl-Br-18; In re Katrina,

620 F.3d 455, 460 (5th Cir. 2010). Defendants agree Boyle’s tripartite test depends

on “the design feature in question,” Def-Opp-19, but fail to address either feature.

That failure ipso facto entitles Plaintiffs to summary judgment on both features.

Livingston v. 3M, 2013 WL 12129394, *4 (C.D. Cal. 2013) (granting plaintiff

summary judgment because defendant offered no evidence regarding feature at

issue); Crace v. Northrop, 2015 WL 4129216, *5 (E.D. La. 2015) (similar).

        Defendants’ unavailing attempt to reduce the two features at issue to one—

plug length—belies the record. PX76(3M_MDL000627115) (stem length, not plug

length);    PX33(3M_MDL000728812)            (stem   length   and   “[a]dditional[]”

flange-positioning problem). Defendants allege “the military’s decision to shorten

the plug is what moved the opposing flanges closer to the ear,” Def-Opp-8, but they

forget that given different ear geometries, the CAEv2’s opposing flanges could press

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against some ears even without the 1/4" change, see PX33(3M_MDL000728812);

PX25(Kieper-914:19-915:20).

      A.     The military did not approve reasonably precise specifications.

      Besides ignoring the features “challenged by [Plaintiffs],” Defendants build

their opposition on quicksand. Ferguson v. Bombardier, 2005 WL 8160215, *4

(M.D. Fla. 2005). They misleadingly truncate Harduvel, claiming it is sufficient for

Boyle’s first condition that “the contractor ‘incorporates’ the government’s input

‘into a design that the government subsequently reviews and approves.’” Def-Opp-

19. Harduvel says nothing of the sort. Instead of government input, the Eleventh

Circuit referred to “incorporat[ing] government performance specifications.”

Harduvel v. Gen. Dynamics, 878 F.2d 1311, 1320 (11th Cir. 1989). And there’s the

rub: there are no specifications for stem length or flange positioning. E.g., Bailey v.

McDonnell, 989 F.2d 794, 799 (5th Cir. 1993) (“silent” specifications).

      Defendants cite no specifications, whether created by them or the government.

In an astonishing about-face, Defendants now disclaim the MPID.2 Def-Opp-10.

Ignoring flange positioning, they claim Ohlin “directed that Aearo shorten the

earplug.” Def-Opp-19. This is not a specification because (1) DLA creates



2
  When opposing remand, Defendants declared the MPID “reflect[ed]” and
“memorialized” the military’s specifications. Dixon v. 3M, 3:19-cv-03069-MCR-
GRJ, Dkt. 14 at 6, 23. The MPID is silent as to plug length, stem length, and flange
positioning. PX37(3M_MDL000000055-58).

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specifications, Pl-Br-19; (2) specifications are identified in contracts, not orally,

PX43(Merkley-294:12-295:3); PX50(MDL000689903); PX54(MDL000188595);

and (3) Ohlin did not “direct” Aearo to shorten the stem—Aearo volunteered,

Pl-Opp-19-20. Ohlin’s testimony is dispositive:

      Q: Has anyone at 3M or Aearo ever said that your specifications have
      been responsible for the Combat Arms Business? . . .

      A: I don’t know of any specification for the Combat Arms Earplug.

PX9(Ohlin-168:17-23, 130:6-23, 133:16-134:10).

      Ohlin’s testimony aligns with his representations to military officials,

PX53(3M_MDL000527305), and the testimony of Defendants’ employees

and Touhy witnesses, Pl-Br-19. His comment that a “combat arms earplug [was]

‘evaluated and specified,’” DX54, did not refer to the “current production product,”

PX26(Berger-267:20-268:11); PX4(3M_MDL000014015); Pl-Opp-18-19.

      Assuming arguendo there were specifications, Defendants identify no precise

ones. Relying on one non-binding case that no court has ever cited, Defendants try

to upend the precision requirement. Def-Opp-20. Boyle is clear: specifications must

dictate “the precise manner of construction.” Boyle v. United Techs., 487 U.S. 500,

509 (1988); Dugas, 2016 WL 3965953, *4. Defendants’ contrary reading would

render the “precise” requirement superfluous. Corr. Servs. v. Malesko, 534 U.S. 61,

74 n.6 (2001) (government must “direct[] a contractor to do the very thing that is the

subject of the claim”). Absent any evidence the military directed how to shorten the

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plug, there are no precise stem-length specifications. Defendants’ arguments about

overall length and carrying-case dimensions are red herrings.3 Def-Opp-21.

       Defendants also fail to show a “‘continuous back and forth’ regarding the

allegedly defective feature[s].” Def-Opp-19. Neither the NSN nor Ohlin’s

acceptance of “production samples” demonstrates “meaningful” approval.

Pl-Opp-21-23; PX18(McNamara-349:21-350:3). Defendants claim Ohlin “knew

exactly how the product was shortened,” Def-Opp-21, but their evidence shows no

such thing, DX3(DOD00000136-37). The cited Army testing (DX16) did not

involve     the   final   product,   Pl-Opp-23,   nor   did   Ohlin   consider   it,

DX9(3M_MDL000039904) (not referencing 1999 Army study). There is no

evidence of a continuous back and forth as to the features in question. E.g., Dugas,

2016 WL 3965953, *4.

       B.     The CAEv2 failed to conform to the purported specifications.

       Under Boyle’s second condition, Defendants argue the CAEv2 complied with

the purported “length specification Ohlin approved.” Def-Opp-21. Setting aside that

no such specification existed, Defendants never dispute that several “shortcomings”

render the CAEv2 nonconforming with the alleged dual-mode specification. Gray v.

Lockheed, 125 F.3d 1371, 1378-79 (11th Cir. 1997); PX9(Ohlin-130:6-23);



3
 The military later “enlarged” the carrying case. PX107(3M_MDL000013975);
PX113(30(b)(6)-506:12-507:21).

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PX37(3M_MDL000000055); PX33(3M_MDL000728812); PX94(Kieper-205:4-

208:20, 215:17-216:5).

      Their reliance on Katrina is self-defeating. The Fifth Circuit never reached

conformance, holding specifications imprecise because the government’s “general

directive” left the contractor with design discretion. 620 F.3d at 462-65. If length is

the only relevant specification, as Defendants say, their discretion to modify the stem

and flanges was unconstrained. Id. at 464-65. Defendants therefore cannot show “the

government made [them] do it.” Gray, 125 F.3d at 1377.

      C.     Defendants knew more than the military about the CAEv2’s
             dangers and consequences but did not share that information.

      Defendants omit Plaintiffs’ most critical arguments under Boyle’s third

condition. They claim “Plaintiffs allege that the military was not on notice of two

issues,” namely that “the CAEv2’s short stem prevented deep insertion” and its

“opposing flanges caused imperceptible loosening.” Def-Opp-22. But they ignore

their nondisclosure of the consequences of these defects, as Boyle and its progeny

require. 487 U.S. at 512-13; Harduvel, 878 F.2d at 1321-22.

      Defendants’ failure to address that precedent is dispositive. They have not

shown—as they must—that they told the military the defects caused “low” and

“variable” protection. PX33(3M_MDL000728812). Nor have they shown—as they

must—that the military knew the CAEv2 provided one-tenth the promised protection

or that its 11 NRR did not protect servicemembers from “gunfire.” Id.;

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PX79(McNamara-69:19-70:4). This dooms the defense, just like in Jowers, which

Defendants fail to distinguish. Jowers v. Lincoln, 617 F.3d 346, 354-55 (5th Cir.

2010) (rejecting defense because contractor withheld “internal information”

revealing “deeper knowledge of potential harms”); Gadsden v. United States, 111 F.

Supp. 3d 1218, 1231 (N.D. Ala. 2015); McIntyre v. Warren, 2007 WL 1279638, *4

(N.D. Cal. 2007).4

             1.      Defendants withheld information about the specific dangers and
                     consequences.

       Defendants have cobbled together pieces of testimony that Berger told Ohlin

about some nebulous “problem” and that Ohlin told audiologists they “could” fold

the CAEv2’s flanges “as needed.” Def-Opp-8, 23 (citing DX58-59; DX61);

Pl-Opp-30-32. Their remaining evidence is either inadmissible hearsay (DX27;

DX44), contrary to Touhy (DX66), and/or incomplete (DX44).5 Pl-Opp-33. None of

this evidence shows Defendants disclosed their internal information about the

specific dangers and consequences. It is undisputed that:

            Defendants never shared the Flange Report with the military.
             PX26(Berger-206:7-13); PX27(30(b)(6)-286:5-287:9, 352:15-25);
             PX10(Myers-898:6-25).


4
  Failing to distinguish any case Plaintiffs cited, Defendants claim “there was no
‘danger’ to warn of.” Def-Opp-22. They are wrong. Pl-Opp-25-26.
5
 For example, Defendants disregard Robinette’s conclusion that Defendants “should
have informed the military [about the Flange Report], so that the military could have
advised the soldiers of the slippage problem.” DX13(CID0237).

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            Defendants pulled the CAEv2 hours after the Flange Report was
             disclosed in their sham patent litigation. PX31(Hamer-149:18-157:8);
             PX38(3M_MDL000332111); PX15(Myers-352:16-353:24).

            Defendants never shared Test 213015 or other REAT tests
             (Method B or ANSI S3.19) with dangerously low NRRs.
             PX26(Berger-206:7-207:3); PX15(Myers-302:5-24); PX78(Myers-
             516:24-517:23); PX95(MDL000473611); PX96(MDL000011826);
             PX97(MDL000018619); PX102(MDL000016456).

            Defendants never disclosed the specific dangers. PX55(Berger-151:8-
             21) (no communications to “Ohlin or anyone else in the military that
             there was loosening”); PX27(30(b)(6)-295:14-25) (no disclosure that
             the CAEv2 “was too short for proper insertion”); PX26(Berger-82:9-
             22) (A: We provided them [Test 213017], and . . . a [fitting] tip . . . . Q:
             Or what? . . . A: Period. That’s what we told them.) (emphasis added).

            Defendants never disclosed the specific consequences, including the
             CAEv2’s “low” and “variable” protection, its 11 NRR, or that it did not
             protect users from gunfire. PX33(MDL000728812); PX18(McNamara-
             152:20-153:9); PX79(McNamara-69:19-70:4); PX114(McNamara-
             291:1-305:21); PX15(Myers-352:16-353:24).6

             2.     The military did not have independent knowledge of the specific
                    dangers and consequences.

       Blithely ignoring that evidence, Defendants claim the military was “on notice”

of the dangers, despite the undisputed fact that the military stopped using the CAEv2

once it discovered the dangers. PX42(3M_TOUHY00002040); PX40(CID0002).

       Defendants nonetheless argue that government testing notified the military

about the dangers, Def-Opp-25-27, even though the testing revealed no such thing,


6
 Ohlin’s testimony shows he did not know about the 11 NRR. PX9(Ohlin-191:18-
192:23). When Ohlin averred he was not aware of “other earplugs,” including the


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Pl-Opp-34-35. Only if government testing links a defect to a consequence may a

contractor walk away scot-free. E.g., Agent Orange, 304 F. Supp. 2d 404, 426-29,

441-42 (E.D.N.Y. 2004).

      Defendants also argue the military knew “all preformed earplugs are

susceptible to loosening,” so the military knew about the CAEv2’s imperceptible

loosening. Def-Opp-25-26. To the contrary, Berger testified that the Flange Report

identified an “extra problem” beyond the general problem of one-sided plugs

“work[ing] loose.” PX115(Berger-538:13-540:6). Merkley, moreover, conceded the

“average soldier” could not discern when the CAEv2 broke seal. PX116(Merkley-

494:5-495:12).

      Defendants further argue the military need not be aware of imperceptible

loosening because it occurs only in “soundproof” booths. Def-Opp-5, 27. All

contemporaneous     records   disprove    this   litigation-driven   theory.   E.g.,

PX33(MDL000728812); PX76(MDL000627115); PX117(MDL000434769). And

lest Defendants forget, the CAEv2’s “hear-through” technology was designed to

provide “situation awareness.” PX115(Berger-465:8-466:12); Def-Br-4. In fact,

soldiers were instructed that the CAEv2 made gunfire sound “louder than with

conventional hearing protection.” DX42(MDL000055850). Soldiers thus lacked


CAEv2, “where the fit protocol was changed after receiving one NRR to get another
NRR,” he did not limit “fit protocol” to exclude “an instructional change like the
flange fold,” as Defendants speciously argue. Id.; Def-Opp-29-30.

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“auditory clue[s] that [they] had lost the seal.” Def-Opp-27. Even Myers—the

CAEv2’s brand manager—“never fe[lt] like [the CAEv2 was] working.”

PX118(3M_MDL000398074); PX119(Kieper-928:4-929:25).

      Nothing Defendants cite changes the fact that not one Touhy witness knew

about the CAEv2’s dangers or consequences. PX23(Babeu-171:4-175:14, 389:20-

391:18); PX44(Coleman-202:15-203:12); PX43(Merkley-327:8-12, 331:21-332:16,

349:4-350:4). The Army conducted a two-year investigation and found the military

itself was unaware. PX40(CID0001-02); PX120(Coleman-26:22-28:23, 180:8-12,

243:15-244:2, 464:9-22) (six-page report contains “unbiased investigative

findings”); see Beech Aircraft v. Rainey, 488 U.S. 153, 161-70 (1988).

      Defendants’ argument also defies common sense. Given the military’s swift

discontinuance of the CAEv2 upon discovering its dangers in the qui tam case, was

it previously “on notice” of those dangers, as Defendants contend? Of course not.

            3.     Defendants do not deserve Boyle immunity.

      Boyle’s third condition ensures the defense does not “perversely impede

[discretionary functions] by cutting off information highly relevant to the

discretionary decision.” 487 U.S. at 512-13. When the defense functions as intended,

the government can make a “fully informed” decision based on “all readily available

information.” In re Joint, 897 F.2d 626, 629 (2d Cir. 1990); Trevino v. Gen.

Dynamics, 865 F.2d 1474, 1481-82 (5th Cir. 1989); Harduvel, 878 F.2d at 1318


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(government purchased product with “full knowledge” of consequences); Martinez

v. Sci. Applications, 2015 WL 11109381, *20 (S.D. Tex. 2015) (contractor shared

report “warning about the specific risk,” enabling “discretionary decisions”).

        Defendants prevented an informed government decision. See Def-Opp-11-12.

They put profits over people, knowing that disclosing the dangers and consequences

of the CAEv2’s defects would “disrupt” military sales. Boyle, 487 U.S. at 512.

        Q: So for people that are as heroic as our soldiers . . . should they be
        given the full truth about the products that they use? . . .

        A: Not necessarily.

PX121(Salon-54:22-55:4). The consequence is clear: the defense does not apply

here.

III.    This Case Lacks All of the Hallmarks of a Government Contractor Case.

        Finally, the defense does not fit this case because Defendants designed the

CAEv2 for commercial use, vitiating a uniquely federal interest and triggering

Boyle’s stock-product exception. And there was no federal procurement contract,

precluding a conflict with state law.

        A. The defense does not apply to products with commercial counterparts.

        Defendants insist a “uniquely” federal interest exists anytime the government

buys any equipment. Def-Opp-12-13. They misconstrue Boyle, which invoked

federal common law to protect uniquely federal interests in exclusively federal

equipment. 487 U.S. at 502, 504-05, 507-11. “Nothing like that exists here.”

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Rodriguez v. F.D.I.C., 140 S. Ct. 713, 717 (2020). “The federal government may

have an interest” in the procurement of commercially-available equipment, “[b]ut

what unique interest could the federal government have” for goods available in

“substantially similar form to commercial users”? Id. at 717-18; In re Hawaii, 960

F.2d 806, 811-12, 814 n.2 (9th Cir. 1992). None. Id.; Pl-Br-13 (collecting cases).

       Defendants disregard Plaintiffs’ authority, instead claiming there is a

bright-line rule applying Boyle to any procurement—period. Quite the opposite.

Courts reject “a bright-line rule applying federal common law to all government

procurement contracts . . . because so facile a rule would conflict with Boyle.”

Woodward v. Curtiss, 164 F.3d 123, 128 (2d Cir. 1999). And rightly so—if every

procurement implicated a uniquely federal interest, “we would be awash in federal

common-law rules.” O’Melveny v. F.D.I.C., 512 U.S. 79, 88 (1994).

       No Eleventh Circuit case suggests Boyle applies to a product like CAEv2.

This Circuit has only applied Boyle to exclusively military products. E.g., Brinson

v. Raytheon, 571 F.3d 1348, 1349 (11th Cir. 2009) (T-6A jet); Harduvel, 878 F.2d

at 1313 (F-16 Fighting Falcon). Dorse is not to the contrary because the military

procured asbestos as a component for “naval ships.” 898 F.2d at 1489.7




7
 Burgess does not help Defendants, either. Def-Opp-16 n.12. That case, decided
before Boyle, did not address the uniquely-federal-interest requirement. Burgess v.
Colorado, 772 F.2d 844, 846 (11th Cir. 1985).

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       Defendants also fail to come to grips with the facts. It matters not that the

military received product samples first. Def-Opp-4. Early sales were commercial,

PX47(3M_MDL000393647), and Defendants intended to sell the CAEv2 to both the

government and consumers from the very start, PX12(3M_MDL000591210_5).

Regardless, there can be no federal interest—let alone a unique one—in a

discontinued product. Good v. Armstrong, 914 F. Supp. 1125, 1131 (E.D. Pa. 1996).

       Nor is there conflict. The sole case Defendants cite, Def-Opp-13, sidesteps

binding precedent requiring a “significant conflict.” 487 U.S. at 511-12; Dorse, 898

F.2d at 1488; Glassco, 966 F.2d at 642. No conflict exists here because, among other

things, Defendants charged the military more for the identical product,

PX49(McGinley-60:2-62:20), nullifying Boyle’s purpose, 487 U.S. at 511-12.

       B.    The defense does not apply to stock products.

       Attempting to avoid Boyle’s stock-product exception, Defendants claim “the

military was the driving force behind the CAEv2’s creation.” Def-Opp-14. That is

irrelevant. Defendants do not dispute they always intended to sell the CAEv2

simultaneously to civilian consumers and the government, even if they technically

made the first sale to the military.8 PX12(3M_MDL000591210_5). Nor do they




8
 Defendants ignore commercial sales in February 2000. DX3(MDL000393647);
PX122(Myers-540:6-13).

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dispute the military purchased the CAEv2 off-the-shelf through the MPID.

PX37(3M_MDL00000055).

      Defendants suggest “no court” has applied Boyle’s stock-product exception,

Def-Br-14, even though Plaintiffs cited cases that have done so, Pl-Br-18. Ignoring

them, Defendants cite Jackson, Kase, and Brooklyn, where commercial sales were

incidental or the stock product was only a component part. Because the CAEv2 was

itself a stock product with significant commercial sales for more than a decade, it

would be “absurd” to preempt the claims of thousands of veterans who used “the

same product.” Dorse v. Armstrong, 513 So. 2d 1265, 1269-70 (Fla. 1987);

Def-Opp-14.

      C.    The defense does not apply without a federal procurement contract.

      Lacking a design contract, Defendants argue the defense does not require one.

Def-Opp-16-18. Whether styled as a design-and-development contract or a

procurement contract for the manufacture of a specified design, all the cases

Defendants cite—including Brinson—involved such a contract. 571 F.3d at 1354

(“[c]ontractual requirements”); e.g., Harduvel, 878 F.2d at 1318 (“under contract”);

Agent Orange, 517 F.3d 76, 92-93 (2d Cir. 2008) (“contractual duties”).

      No matter who creates specifications, they must be incorporated into a

contract for the government contractor defense to apply. Indeed, it would “prove[]

impossible” to apply Boyle without one. Martinez, 2015 WL 11109381, *21.


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      Sales orders—sans specifications—add nothing. Agent Orange, 517 F.3d at

89 n.12 (“[A] defendant who had no way to demonstrate what specifications were

within the contract . . . would likely have difficulty successfully asserting the

contractor defense.”). Unlike every other government contractor case, Defendants

cannot identify any “procurement means through which [they] entered into a

contract with the government.” PX10(30(b)(6)-820:17-822:5).

                                 CONCLUSION

      On these undisputed facts, the government contractor defense is as ill-fitting

as the CAEv2. The Court should grant Plaintiffs’ motion.



DATED: April 21, 2020

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                  CERTIFICATE OF COMPLIANCE
               WITH LOCAL RULES 7.1(F) AND 56.1(D)–(E)

      I hereby certify that this reply memorandum complies with the word limit of

Local Rule 56.1(D)–(E) and contains 3,200 words.

                                     s/ Bryan F. Aylstock




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                        CERTIFICATE OF SERVICE

      I hereby certify that on April 21, 2020, I caused a copy of the foregoing to

be filed through the Court’s CM/ECF system, which will serve all counsel of

record.

                                     s/ Bryan F. Aylstock




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